18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 1 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 2 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 3 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 4 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 5 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 6 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 7 of 8
18-20007-rdd   Doc 26   Filed 10/04/18    Entered 10/04/18 10:03:18   Main Document
                                         Pg 8 of 8
